              Case 2:16-cv-01866-JCC Document 99 Filed 04/25/18 Page 1 of 2



                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    NORTHWEST ENVIRONMENTAL                           CASE NO. C16-1866-JCC
      ADVOCATES,
10                                                      MINUTE ORDER
11                          Plaintiff,
             v.
12
      U.S. DEPARTMENT OF COMMERCE, et al.,
13
                            Defendant,
14

15    STATE OF WASHINGTON
16
                            Defendant-Intervenor.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’, Washington State Farm Bureau’s
21
     (“WFB”), and Washington Cattleman’s Association’s (“WCA”) stipulated motion for leave for
22
     WFB and WCA to file an amici curiae brief on the remedy in this matter (Dkt. No. 98.) District
23
     courts have “broad discretion” regarding the appointment of amici. Hoptowit v. Ray, 682 F.2d
24
     1237, 1260 (9th Cir. 1982), abrogated on other grounds by Sandin v. Conner, 515 U.S. 472
25
     (1995). The Court finds that WFB’s and WCA’s amici curiae brief may be helpful to the Court.
26



     MINUTE ORDER C16-1866-JCC
     PAGE - 1
               Case 2:16-cv-01866-JCC Document 99 Filed 04/25/18 Page 2 of 2




 1   See Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003). Accordingly, the stipulated motion

 2   (Dkt. No. 98) is GRANTED.

 3          WFB’s and WCA’s amici curiae brief is due concurrent to Defendant-Intervenor’s

 4   response/cross-motions to Plaintiff’s motion for partial summary judgment and is not to exceed

 5   15 pages. (See Dkt. No. 91.) Plaintiff may file a 7-page response to the amici curiae brief, either

 6   combined with Plaintiff’s response/reply brief in support of Plaintiff’s motion for partial

 7   summary judgment or separately, in which case Plaintiff’s response to the amici curiae brief is

 8   due concurrent to Plaintiff’s response/reply brief.
 9          Consistent with their stipulation, WFB and WCA are DIRECTED to withdraw their
10   pending motion for a partial stay pending appeal of the Court’s order denying them intervenor
11   status. (See Dkt. Nos. 84, 95.)
12          DATED this 25th day of April 2018.
13                                                          William M. McCool
                                                            Clerk of Court
14
                                                            s/Tomas Hernandez
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                                                            Deputy Clerk
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     MINUTE ORDER C16-1866-JCC
     PAGE - 2
